                                                        CASE 0:22-cr-00040-JRT-LIB Doc. 98 Filed 05/13/24 Page 1 of 1


  UNITED STATES DISTRICT COURT                                                                   TRANSCRIPT ORDER                                                                                COURT USE ONLY
     DISTRICT OF MINNESOTA                                                 CJA counsel please complete an AUTH24 in CJA eVoucher                                                                      NOTES:
               (Rev. 03/2018)
                                                                                           Please read instructions on next page.

1a. CONTACT PERSON FOR THIS ORDER                                          2a. CONTACT PHONE NUMBER                                                3. CONTACT EMAIL ADDRESS
Tracey Bodway                                                              612-664-5858                                                            zzMNFDMailbox@fd.org

1b. ATTORNEY NAME (if different)                                           2b. ATTORNEY PHONE NUMBER                                               3. ATTORNEY EMAIL ADDRESS
Aaron Morrison                                                             612-664-5858                                                            Aaron_Morrison@fd.org

4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                             5. CASE NAME (Include defendant number, for criminal cases        6. CASE NUMBER
Office of the Federal Defender                                                                        only)                                                             22-cr-40 (JRT/LIB)
Suite 107 US Courthouse                                                                               United States v. Steve Anthony Shand
300 South Fourth Street
Minneapolis, MN 55415
                                                                                                      8. THIS TRANSCRIPT ORDER IS FOR (CHECK ALL THAT APPLY):                  CJA: Do not use this form; use AUTH24 in CJA.
7. COURT REPORTER NAME, if applicable                                                                 ❐ APPEAL          X CRIMINAL                       ❐ In forma pauperis (NOTE: Court order for TRANSCRIPTS must be
Digitally Recorded                                                                                         NON-APPEAL   ❐ CIVIL                         attached)
                                                                                                                                                        ❐ Standing Order (MDL only)

9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

 a.          HEARING(S) (OR PORTIONS OF HEARINGS)                          b.             SELECT FORMAT(S)                             c.          DELIVERY TYPE
                                                                                          NOTE: ECF access is included.                            Delivery times are not guaranteed.

      DATE          JUDGE                       PORTION                           PDF         TEXT/ASCII        PAPER     CONDENSED     ORDINARY        14-Day      EXPEDITED        EXPEDITED        DAILY      HOURLY       REALTIME
                                   If requesting less than full hearing,        (email)         (email)                                 (30-day)                     (7-day)          (3-day)       (Next day)    (2 hrs)   (rough draft)
                    (initials)    specify portion (e.g. witness or time)

5/9/24          LIB                                                               1                                                                       √




10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:



ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                  12. DATE

11. SIGNATURE
                                                                                                                                                                      May 13, 2024
s/ Aaron Morrison
